Case 7:24-cv-00044-O-BP          Document 36          Filed 12/06/24     Page 1 of 2     PageID 286



                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                               WICHITA FALLS DIVISION

 ERIC REEDER and MANDY REEDER §
 Individually and as Administrators of the §
 ESTATE OF JUSTIN REEDER, Deceased, §
                                           §
        Plaintiffs,                        §
                                           §
 v.                                        §            Civil Action No. 7:24-cv-044-O-BP
                                           §
 DIANA ISACHIEVICI, et al.,                §
                                           §
        Defendants.                        §

    ORDER ACCEPTING FINDINGS, CONCLUSIONS, AND RECOMMENDATION
              OF THE UNITED STATES MAGISTRATE JUDGE

        The United States Magistrate Judge made Findings, Conclusions, and a Recommendation

 in this case. No objections were filed, and the Magistrate Judge’s Recommendation is ripe for

 review. The District Judge reviewed the proposed Findings, Conclusions, and Recommendation

 for plain error. Finding none, the undersigned District Judge believes that the Findings and

 Conclusions of the Magistrate Judge are correct, and they are accepted as the Findings and

 Conclusions of the Court.

        Accordingly, it is ORDERED that Defendants’ Motions to Dismiss (ECF Nos. 6, 24, 31)

 are GRANTED in PART and Plaintiffs’ claims for violation of a liberty interest and excessive

 force are DIMISSED, Defendant’s Motions to Dismiss (ECF Nos. 6, 24, 31) are DENIED in

 PART as to Plaintiffs’ claims of deliberate indifference to serious medical needs, and Plaintiffs’

 Motion for Default Judgment Against David Bolton (ECF No. 26) is DENIED.

        If Plaintiffs wish to amend their Complaint (ECF No. 1) to address the legal deficiencies

 identified in the United States Magistrate Judge’s Findings, Conclusions, and Recommendation

 (ECF No. 35) as to their claims of violation of Justin Reeder’s liberty interest and excessive force,

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Case 7:24-cv-00044-O-BP       Document 36        Filed 12/06/24   Page 2 of 2   PageID 287



 they SHALL FILE a First Amended Complaint on or before fourteen days from the date of this

 Order.

          SO ORDERED on this 6th day of December, 2024.



                                                 _____________________________________
                                                 Reed O’Connor
                                                 UNITED STATES DISTRICT JUDGE




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